Case 4:22-cv-00136-TWP-KMB Document 9-1 Filed 11/22/22 Page 1 of 4 PageID #: 39




                                                                                  E
                                                                                  X
                                                                                  H
                                                                                  I
                                                                                  B
                                                                                  I
                                                                                  T

                                                                                  1




               EXHIBIT 1
Case 4:22-cv-00136-TWP-KMB Document 9-1 Filed 11/22/22 Page 2 of 4 PageID #: 40




                                                                f

                                                                                                                        COMPLETE THIS SECTION ON DELIVERY
                                                                    SENDER: COMPLETE THIS SECTION
                                                                                                                        A. S
                                                                    • Complete items 1, 2, and 3.                                                                        0 Agent
                                                                    • Print your name and address on the reverse        X      AYtt                                      0 Addressee
                                                                       so that we can return the card to you.                                                        C. Date of Delivery
                                                                                                                                            71Name)
                                                                                                                        B. Receiv by 4 riffled
                                                                    • Attach this card to the back of the mailpiece,
                                                                       or on the front if space permits.
                                                                    1. Article Addressed to:                            D. Is deliv address di e nt from item 1? 0 Yes
                                                                                                                           If YES enter delivery address below:  ❑ No



                                                                     IWC Oil Et Refinery, LLC
                                                                     8610 N. New Braunfels Suite 301
                                                                     San Antonio, Texas 78217


                                                                        11111111111111
                                                                                 1111   1111   mi
                                                                                         111111111
                                                                                   11111111
                                                                           9590 9402 6837 1074 5894 80
                                                                                                                       3. Service Type
                                                                                                                       0 Adult Signature
                                                                                                                       0 Adult Signature Restricted Delivery
                                                                                                                       0 Certified Mail®
                                                                                                                       0 Certified Mall Restricted Delivery
                                                                                                                                                                 0 Priority Mail Express®
                                                                                                                                                                 0 Registered MailTM
                                                                                                                                                                 0 Registered Mail Restricte

                                                                                                                                                                 0
                                                                                                                                                                   Delivery
                                                                                                                                                                   Signature Confirmation,
                                                                                                                                                                   Signature Confirmation
                                                                                                                       0 Collect on Delivery
                                                                                                                       D Collect on Delivery Restricted Delivery   Restricted Delivery
                                                                    2. Article Number (Transfer from service label)
                                                                           7021 2720 0002 8558 1020                                 il Restricted Delivery

                                                                    PS Form 3811, July 2020 PSN 753C !-000-9053                                                Domestic Return Receipt
001221223ÿ0Case
           2567ÿ894:22-cv-00136-TWP-KMB           Document89-1ÿÿ 8 11/22/22
                                                                 Filed ÿÿPage
                                                                                     3 of 4 PageID #: 41

   ./0/ÿ23456789                        ?                                                                :;<=ÿ>




   @ABCDEFGÿIJKLMAN                                                                                  MKVaMÿ
   OPQRQOQPPPPQSTTSRPQP
        UVWX ÿ Z[[ÿ\Vÿ]F^VAKM[ÿ_MÈaMAX
   bc\\WdNeeEF^VAKM[[MÈaMAXfJdWdfCVKeg

        hB\Md\ÿiW[B\M
        jklmÿopqrÿstuÿvqwoxqmqvÿpkÿtyÿoyvoxovltwÿtpÿpzqÿtvvmquuÿtpÿ{|}{ÿ~rÿkyÿkxqrqmÿ{ÿ}ÿoyÿ 




                                                                                                               ÃÄ(
         ÿÿ{

        ÿ3ÿÿÿ./0/ÿ23456789
            ./0/ÿ23456789ÿ0=?
         _M  ÈaMAM[
         _MÈaMAM[»ÿhM^\ÿ¼E\cÿ]F[EaE[JB`
         ÿ°ÿ ÿ¶¯±®¶ÿ
         ¨©ª«¬ª­ÿ®¯°ÿ±²±±°ÿ®³²®ÿ·«
         _MWBA\M[ÿiÿMGEVFBÿ̀BCÈE\X
         ÿÿ ÿ¡¢£¤ÿ¥¦¦¢ÿ
         ¨©ª«¬ª­ÿ®¯°ÿ±²±±°ÿ±³±´ÿµ«
         ZAAEaM[ÿB\ÿiÿMGEVFBÿ̀BCÈE\X
         ÿÿ ÿ¡¢£¤ÿ¥¦¦¢ÿ
         ¨©ª«¬ª­ÿ®¶°ÿ±²±±°ÿ®±³±´ÿ·«
         ¸7¹ÿ23456789ÿ̧7=3º


      2½ÿ¾ÿ¿À47ÿ.Á¹4=                                                                                Â

511 11!"# $%&'(0)*+202*2++++2,--,0+2+                                          012
001221223ÿ0Case
           2567ÿ894:22-cv-00136-TWP-KMB           Document89-1ÿÿ 8 11/22/22
                                                                 Filed ÿÿPage
                                                                                     4 of 4 PageID #: 42

      4.5.ÿ6789:;<=ÿ5>?2@                                                                                 A

      57BC?9DÿE<FB7G8D;B<                                                                                 A
                                                         .//ÿ1/22ÿ3
   HIJKLÿNOPQRSIÿTJKLJUS
     tOQSIÿQIJKLuOUÿPIÿvJIKPwSÿOxyvSIz


                                                V//CÿWB7/ÿX/>YZ
                               [\]^_`^ÿbcdcÿef_`gh]iÿjkll\f^ÿm\fÿmkf^nofÿ_jjhj^_]`op
                                                             qrs2




                                                                                                               {|(




511 11!"# $%&'(0)*+202*2++++2,--,0+2+                                          212
